




NO. 07-03-0507-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 11, 2004



______________________________





BETTY ANN NEWBY, APPELLANT



V.



DAN MOSER, MOSER INVESTMENTS, MOSER AND

STUBBLEFIELD INVESTMENTS; SHERIA EVANS; AND

BRIAN SHINALL, D/B/A REAL ESTATE CONCEPTS , APPELLEES





_________________________________



FROM THE 84TH DISTRICT COURT OF HUTCHINSON COUNTY;



NO. 35,167; HONORABLE JACK YOUNG, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Betty Ann Newby, appearing 
pro se
, has filed a Motion to Extend Payment Date for Filing Fee, received by this court on January 21, 2004. &nbsp;We deny appellant’s motion and dismiss the appeal. 



On December 2, 2003 appellant
 filed a Motion for Extension of Time to File Notice of Appeal and Other Documents. &nbsp;The motion did not identify the trial court, state the case’s trial court number, state the date of the judgment or order appealed from or state clearly that appellant desired to appeal. &nbsp;Tex. R. App. P. 10.5(b)(2), 25.1(d). &nbsp;No filing fee was submitted with the document. 
 Nonetheless, we accepted it as a bona fide attempt to invoke this court’s jurisdiction. &nbsp;
See Verburgt v. Dorner
, 959 S.W.2d 615 (Tex. 1997). 

By letter dated December 31, 2003, appellant was advised by the clerk of this court that the filing fee had not been received. &nbsp;Appellant was directed to pay the filing fee on or before January 15, 2004 and was advised that failure to pay the filing fee could result in dismissal of the appeal. &nbsp;
See 
Tex. R. App. P. 42.3. &nbsp;Appellant’s Motion to Extend Payment Date for Filing Fee does not reasonably explain the need for an extension as required by Tex. R. App. P. 10.5(b). The motion summarily states that appellant has a meritorious appeal but cannot pay the filing fee until February 3, 2004. &nbsp;Moreover, that date has passed and no filing fee has been received.

Appellant is not excused by statute or the Rules of Appellate Procedure from paying costs. Tex. R. App. P. 5. &nbsp;Appellant has failed to pay the filing fee as directed by this court. All parties have had more than ten days’ notice that dismissal could result from appellant’s failure to comply with the rules and this court’s orders. Tex. R. App. P. 42.3(c). &nbsp;Accordingly, appellant’s Motion to Extend Payment Date for Filing Fee is denied and the appeal is dismissed. 

Per Curiam


